DATE: February 7, 2023


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:


          1. Jason Sam Harris
              v. Commonwealth of Virginia
              Record No. 1174-21-4
              Opinion rendered by Judge Lorish on
              September 27, 2022

          2. Jason Harris, s/k/a, etc.
              v. Commonwealth of Virginia
              Record No. 1372-21-4
              Opinion rendered by Judge Lorish on
              September 27, 2022

          3. Eric Marvin Laney
             v. Commonwealth of Virginia
             Record No. 0833-21-2
             Opinion rendered by Judge O’Brien on
              December 6, 2022

          4. William Gary Shahan
             v. Commonwealth of Virginia
             Record No. 1098-21-1
             Opinion rendered by Judge Humphreys on
              December 13, 2022

          5. Jill Ruderman
              v. Kathy Pritchard
              Record No. 0024-22-2
              Opinion rendered by Chief Judge Decker on
              December 20, 2022
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Anita Shana-Nicole Simms
   v. Alexandria Department of Community and Human Services
   Record No. 0479-214
   Opinion rendered by Judge Lorish
    on April 5, 2022
   Refused (220318)

2. Timothy James Suhay
   v. Commonwealth of Virginia
   Record No. 0664-21-3
   Opinion rendered by Judge Callins
     on July 19, 2022
     Refused (220494)
